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IN THE UNITED sTATEs DISTRICT COURT F""“`"** §§ ”
FoR THE wEsTERN DISTRICT oF TENNESSEE _
wEsTERN DIvIsION 05 £~.PR §§ &HlU\ 1+_
ROB§§?T§SU€:; 513
MARK W. BRYAN, §§ `o%= T'N} msvér=me
Petitioner,
vs. No. 01-2564-Ma

JOHN MALCOLM DAVIS, Warden,

Respondent.

 

ORDER ALLOWING RESPONDENT TO WITHDRAW
MOTION ’I‘O ALTER OR AMEND JUDGMENT

 

Before the court is respondent's April 15, 2005 motion to
withdraw his motion to alter or amend judgment which was filed on
April 13, 2005. For good Cause shown, the respondent’s motion to
withdraw is granted.

rt is 50 oeoERED this "MZ` day of Aprii, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I'ATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

